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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   MIDLAND DIVISION

UNITED FIRE & CASUALTY COMPANY )
                               )
v.                             )                     Civil Action No. 7:17-cv-00023
                               )
KENT DISTRIBUTORS,             )
INCORPORATED                   )



              ORIGINAL COMPLAINT FOR DECLARATORY JUDGMENT


       COMES NOW the Plaintiff, United Fire & Casualty Company ("United Fire"), and files

this Original Complaint for Declaratory Judgment and would respectfully show the Court the

following:

                                                I.
                                           PARTIES

        1.       Plaintiff, United Fire, is an insurance company incorporated and organized

under the laws of the State of Iowa, with its principal place of business in the State of Iowa.

United Fire is not incorporated or organized in, and does not have its principal place of business

in the State of Texas.

       2.        Defendant, Kent Distributors, Incorporated ("Kent Distributors") is a Texas

corporation with its principal place of business in Midland County, Texas. Defendant is a citizen

of the State of Texas. Kent Distributors may be served by and through its registered agent for

service, William B. Kent, 2408 North Big Spring Street, Midland, Texas 79705.

                                             II.
                                        JURISDICTION

       3.        The matter in controversy exceeds, exclusive of interest and costs, the sum of

Seventy-Five Thousand and 00/100 dollars ($75,000). The Plaintiff and Defendants are citizens
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of different states, as United Fire is a citizen of the State of Iowa and Kent Distributors is a

citizen of the State of Texas. Jurisdiction is predicated upon diversity of citizenship and the

amount in controversy pursuant to §28 U.S.C. 1332.

                                                           III.
                                                        VENUE

         4.          Venue is proper in the United States District Court for the Western District of

Texas because Midland is located in the Western District of Texas.

                                                         IV.
                                                        FACTS

         5.          This suit is a claim for declaratory judgment under both Federal Rule of Civil

Procedure 57 and 28 U.S.C. § 2201 and 2202.

         6.          Defendant, Kent Distributors, has been sued in the lawsuit styled Shlana Mithell

v. Kent Distributors, Incorporated d/bla Kent Kwik, Cause No. CV52564 in the 238th Judicial

District Court of Midland County, Texas. Kent Distributors has tendered the defense of that suit

to United Fire and requested that United Fire defend and indemnify Kent Distributors in the suit

by Shlana Mitchell. 1

         7.          United Fire issued a commercial general liability policy, Policy No. CGL-

60405920, to Kent Distributors Inc. (the "CGL Policy"). Kent Distributors Inc. DBA Kent Kwik

Convenience Stores is a named insured under the CGL Policy. The CGL Policy had a policy

period effective August 1, 2014 to August 1, 2015.

         8.          United Fire issued a commercial liability umbrella policy, Policy No. CU-

60405920, to Kent Distributors Inc. (the "Umbrella Policy"). Kent Distributors Inc. DBA Kent



1
  Although the lawsuit is styled Shlana Mithell, references within the Original Petition refer to Shlana Mitchell as
the Plaintiff. As such, it is likely the lawsuit is incorrectly styled and that Mitchell is the correct spelling of the
underlying Plaintiffs name.

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Kwik Convenience Stores is a named insured under the Umbrella Policy. The Umbrella Policy

had a policy period effective August 1, 2014 to August 1, 2015.

       9.             Shlana Mitchell filed suit against Kent Distributors Incorporated d/b/a Kent

Kwik. A copy of the petition filed in that suit is attached as Exhibit A to this Complaint.

According to Plaintiff's Original Petition, "Plaintiff was employed by [Kent Distributors] as a

store clerk .... " 2 Mitchell alleges "[w]hile alone locking the store at closing time, [she] was

"attacked and sexually assaulted by a co-employee who was employed [at] a different location.

Defendant had knowledge of the dangerous nature of the attacker well before the incident

occurred." 3 More specifically, Plaintiff alleges she "sustained personal injuries including ... a.

Physical pain and suffering; b. Mental anguish; c. Physical impairment; d. Loss of earning

capacity; e. Reasonable expenses of necessary medical care." 4

       10.            Plaintiff also alleges Kent Distributors was "negligent in hiring, training,
                                                                         5
superv1smg, and retaining incompetent or dangerous employees."               Plaintiff alleges Kent

Distributors knew the "co-employee" was "dangerous"; that Kent Distributors continued to

employ a dangerous person and failed to warn Plaintiff of the dangerous co-employee; that Kent

Distributors failed to remedy the dangerous condition; that Kent Distributors failed to warn of a

"known danger"; that Kent Distributors failed to provide adequate supervision; that Kent

Distributors failed to provide adequate supervisors; and that Kent Distributors failed to warn

Plaintiff "that a dangerous condition existed with a co-employee." 6



       See Plaintiff's Original Petition at p.2.

       Id. atp.3.
4
       Id. at p.6.

       Id. at p. 5.
6
       Id. at pp. 3-6.

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       11.         In summary, Plaintiff alleges that the foregoing acts and omissions give rise to

causes of action sounding in tort, including negligence, gross negligence, and negligence per se. 7

                                                  V.
                                    RELIEF BEING SOUGHT

       12.         United Fire seeks a declaration that it does not have a duty to defend Kent

Distributors in the Shlana Mithell v. Kent Distributors, Incorporated d/b/a Kent Kwik suit filed in

the 23 gth Judicial District of Midland County, Texas, for the reasons more fully set forth below.

       13.        United Fire also seeks a declaration that it does not have a duty to indemnify

Kent Distributors for any damages assessed against Kent Distributors in favor of Shlana Mitchell

in the Shlana Mithell v. Kent Distributors, Incorporated d/b/a Kent Kwik suit filed in the 238th

Judicial District of Midland County, Texas, for the reasons more fully set fo1ih below.

                                         VI.
                          BASIS FOR DECLARATORY JUDGMENT

       14.         A declaratory judgment is necessary because it will enable United Fire and Kent

Distributors to clarify and resolve disputes concerning the legal obligations, if any, owed by

United Fire to Kent Distributors under the policies identified above with respect to the Shlana

Mithell lawsuit and will afford relief from the uncertainty as to whether Kent Distributors should

be able to rely upon United Fire to provide defense and indemnity against the claims asserted

against Kent Distributors by Shlana Mitchell in that matter.

                                        VII.
                     POLICY PROVISIONS POTENTIALLY AFFECTING
                          DUTY TO DEFEND AND INDEMNIFY

        15.        The following policy provisions potentially affect the duty of United Fire to

defend and indemnify Kent Distributors in the suit by Shlana Mitchell:


       Id. at pp.8-12.


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A.     Insuring Agreements

       16.         Form CGOOOl 1207, found in the CGL Policy, provides in pertinent part as

follows regarding coverage:

       SECTION I - COVERAGES
       COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
       LIABILITY

       1.     Insuring Agreement

              a.       We will pay those sums that the insured becomes legally
                       obligated to pay as damages because of "bodily injury" or
                       "property damage" to which this insurance applies. We
                       will have the right and duty to defend any "suit" seeking
                       those damages. However, we will have no duty to
                       defend the insured against any "suit" seeking damages
                       for "bodily injury" or "property damage" to which this
                       insurance does not apply. We may at our discretion
                       investigate any "occurrence" and settle any claim or "suit"
                       that may result. But:

                        (1)   The amount we will pay for damages is limited
                              as described in Section Ill - Limits Of
                              Insurance; and
                        (2)   Our right and duty to defend ends when we
                              have used up the applicable limit of insurance
                              in the payment of judgments or settlements
                              under Coverages A or B or medical expenses
                              under Coverage C.

                        No other obligation or liability to pay sums or perform
                        acts or services is covered unless explicitly provided
                        for under Supplementary Payments - Coverages A
                        and B.

              b.        This insurance applies to "bodily injury" and "property
                        damage" only if:

                        (1)   The "bodily injury" or "property damage" is
                              caused by an "occurrence" that takes place in
                              the "coverage territory";
                        (2)   The "bodily injury" or "property damage" occurs
                              during the policy period; and



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                                                ***
       SECTION V. DEFINITIONS

                                        * * *


              3.     "Bodily injury" means bodily injury, sickness or
                     disease sustained by a person, including death
                     resulting from any of these at any time.

                                        * * *


              5.     "Employee" includes a "leased worker".      "Employee"
                     does not include a "temporary worker".

                                        * * *


              10.    "Leased worker" means a person leased to you by a
                     labor leasing firm under an agreement between you
                     and the labor leasing firm, to perform duties related to
                     the conduct of your business. "Leased worker" does
                     not include a "temporary worker".

                                        * * *


              13.    "Occurrence"    means    an     accident, including
                     continuous or repeated exposure to substantially the
                     same general harmful conditions.

                                        * * *


              19.    "Temporary worker" means a person who is furnished
                     to you to substitute for a permanent "employee" on
                     leave or to meet seasonal or short-term workload
                     conditions.

              20.    "Volunteer worker" means a person who is not your
                     "employee", and who donates his or her work and
                     acts at the direction of and within the scope of duties
                     determined by you, and is not paid a fee, salary, or
                     other compensation by you or anyone else for their
                     work performed for you.

                                                ***


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       17.         Form CUOOOl 1207, found in the Umbrella Policy, provides in pertinent part as

follows regarding coverage:

       SECTION I - COVERAGES
       COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
       LIABILITY

       1.     Insuring Agreement

              a.        We will pay on behalf of the insured the "ultimate net
                        loss" in excess of the "retained limit" because of "bodily
                        injury" or "property damage" to which this insurance
                        applies. We will have the right and duty to defend the
                        insured against any "suit" seeking damages for such
                        "bodily injury" or "property damage" when the "underlying
                        insurance" does not provide coverage or the limits of
                        "underlying insurance" have been exhausted. When we
                        have no duty to defend, we will have the right to defend,
                        or to participate in the defense of, the insured against any
                        other "suit" seeking damages to which this insurance
                        may apply. However, we will have no duty to defend the
                        insured against any "suit" seeking damages for "bodily
                        injury" or "property damage" to which this insurance does
                        not apply. At our discretion, we may investigate any
                        "occurrence" and settle any resultant claim or "suit", for
                        which we have the duty to defend. But:

                        (1)    The amount we will pay for the "ultimate net
                               loss" is limited as described in Section Ill -
                               Limits Of Insurance; and
                        (2)    Our right and duty to defend ends when we
                               have used up the applicable limit of insurance
                               in the payment of judgments or settlements
                               under Coverages A or B.

                        No other obligation or liability to pay sums or perform
                        acts or services is covered unless explicitly provided
                        for under Supplementary Payments - Coverages A
                        and B.

              b.        This insurance applies to "bodily injury" and "property
                        damage" only if:




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                     (1)    The "bodily injury" or "property damage" is
                            caused by an "occurrence" that takes place in
                            the "coverage territory";
                     (2)    The "bodily injury" or "property damage" occurs
                            during the policy period; and

                                                ***
       SECTION V. DEFINITIONS

                                        * * *


              3.     "Bodily injury" means bodily injury, disability, sickness
                     or disease sustained by a person, including death
                     resulting from any of these at any time. "Bodily injury"
                     includes mental anguish or other mental injury
                     resulting from "bodily injury".

                                        * * *


              6.     "Employee" includes a "leased worker".      "Employee"
                     does not include a "temporary worker".

                                        * * *


              10.    "Leased worker" means a person leased to you by a
                     labor leasing firm under an agreement between you
                     and the labor leasing firm, to perform duties related to
                     the conduct of your business. "Leased worker" does
                     not include a "temporary worker".

                                        * * *


              13.    "Occurrence"    means    an     accident, including
                     continuous or repeated exposure to substantially the
                     same general harmful conditions.

                                        * * *


              19.    "Retained limit" means the available limits of
                     "underlying insurance" scheduled in the Declarations
                     or the "self-insured retention", whichever applies.

                                        * * *
              22.    "Temporary worker" means a person who is furnished
                     to you to substitute for a permanent "employee" on


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                        leave or to meet seasonal or short-term workload
                        conditions.

              23.      "Ultimate net loss" means the total sum, after
                       reduction for recoveries or salvages collectible, that
                       the insured becomes legally obligated to pay as
                       damages by reason of settlement or judgments or any
                       arbitration or other alternate dispute method entered
                       into with our consent or the "underlying insurer's"
                       consent.

              24.      "Underlying insurance" means any policies of
                       insurance listed in the Declarations under the
                       Schedule of "underlying insurance".

              25.      "Underlying insurer" means any insurer who provides
                       any policy of insurance listed in the Schedule of
                       "underlying insurance".

              26.      "Volunteer worker" means a person who is not your
                       "employee", and who donates his or her work and
                       acts at the direction of and within the scope of duties
                       determined by you, and is not paid a fee, salary, or
                       other compensation by you or anyone else for their
                       work performed for you.

                                                 ***
B.     Exclusions

       18.         The insuring agreement in Section I - Coverages is modified by various

exclusions. In the case of Form CGOOOI 1207 and Form CUOOOI 1207, found in policies CGL-

60405920 and CU-60405920, these exclusions are as follows:

       2.     Exclusions

              This insurance does not apply to:

              a.        Expected or Intended Injury

                       "Bodily injury" or "property damage" expected or
                       intended from the standpoint of the insured. This
                       exclusion does not apply to "bodily injury" resulting from



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                              the use of reasonable force to protect persons or
                              property.

                                                     * * *
                    e.        Employer's Liability 8

                              "Bodily injury" to:
                              (1) An "employee" of the insured arising out of and in
                                  the course of:
                                      (a) Employment by the insured; or
                                      (b) Performing duties related to the conduct of
                                          the insured's business; or

                                                                * * *


C.         Abuse or Molestation Endorsements

           19.           In addition, each of the policies contains an endorsement, the "Abuse or

Molestation Exclusion," which, by its terms, modifies the Exclusions of Section I - Coverage A

- Bodily Injury And Property Damage Liability. Form CG 26460499 and Form CU 26150503,

contained in policies CGL-60405920 and CU-60405920, provide in pertinent part as follows:

                  TEXAS ABUSE OR MOLESTATION EXCLUSION

                                                     * * *


                    The following exclusion is added to Paragraph 2.,
                    Exclusions of Section I - Coverage A - Bodily Injury And
                    Property Damage Liability Coverage and Paragraph 2.,
                    Exclusions of Section I - Coverage B - Personal And
                    Advertising Injury Liability:

                    This insurance does not apply to "bodily injury", "property
                    damage" or "personal and advertising injury" arising out of:

                              1.     The actual or threatened abuse or molestation
                                     by anyone of any person while in the care,
                                     custody or control of any insured, or

                              2.     The negligent:
                                      a. Employment;
                                      b. Investigation;

8
    This Exclusion is Exclusion 2. g. in the Umbrella Policy.

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                               c. Supervision;
                               d. Reporting to the proper authorities, or
                                  failure to so report; or
                               e. Retention;
                               of a person for whom any insured is or ever
                               was legally responsible and whose conduct
                               would be excluded by Paragraph 1. above.

                       For the purposes of this endorsement, abuse means
                       an act which is committed with the intent to cause
                       harm.

D.     Punitive or Exemplary Damages Endorsements

       20.        In addition, each of the policies contains an amendatory endorsement regarding

punitive damages. The "Punitive or Exemplary Damages Exclusion," Form IL 7009049, by its

terms modifies the COL Policy and Umbrella Policy. The Punitive or Exemplary Damages

Exclusion, contained in policies CGL-60405920 and CU-60405920, provides as follows:

                Regardless of any other provision of this policy, this policy
                does not apply to punitive or exemplary damages.


       21.        Based on the above provisions in the relevant insurance policies, there would be

no duty to defend or indemnify because:

             a. there was no "occurrence" under the policy;

             b. the conduct of Plaintiff's co-employee is excluded from coverage by the Expected
                or Intended Injury Exclusions cited above;

             c. the claims against Kent Distributors are excluded from coverage by the
                Employer's Liability Exclusions cited above; and

             d. the claims against Kent Distributors are excluded from coverage by the Abuse or
                Molestation Exclusions cited above.

       22.        United Fire would further show that coverage is not afforded to Kent

Distributors for any punitive or exemplary damages assessed against Kent Distributors in favor

of Shlana Mitchell in the underlying suit because the claims for punitive and/or exemplary


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damages against Kent Distributors are excluded from coverage by the Punitive or Exemplary

Damages Exclusions cited above.

        WHEREFORE, United Fire & Casualty Company prays that Kent Distributors

Incorporated be cited to appear and answer herein, and that upon the trial of this matter the Court

enter judgment that United Fire & Casualty Company has no duty to defend or indemnify Kent

Distributors Incorporated in the lawsuit styled Shlana Mithell v. Kent Distributors, Incorporated

d/bla Kent Kwik, Cause No. CV52564 in the 238th Judicial District Court of Midland County,

Texas; that United Fire & Casualty Company be awarded all costs and fees incurred in bringing

this matter; and such other and further relief as United Fire & Casualty Company may show

itself to be justly entitled.




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                                               Respectfully submitted,


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